
HARDY, Judge.
This action was instituted by plaintiff for the expropriation of a servitude of right-of-way across the property of defendant locat*906ed in West Carroll Parish for the purpose of constructing a pipeline for the transportation of natural gas. From judgment in favor of plaintiff granting the right-of-way as prayed, conditioned upon the payment of the principal sum of $3,200.00, representing the value of the right-of-way, and attendant damages, plaintiff has appealed.
f This case was consolidated for purposes of trial and appeal with the suit of Michigan Wisconsin Pipe Line Company v. Peterson, 192 So.2d 900, No. 10,713 on the docket of this Court, which has been this day decided. The facts and the reasons supporting the conclusion of this Court are fully set forth in the opinion in the cited case and there remains for consideration only the fixing of damages.
. The land area involved in this suit embraced 2.64 acres lying within the existing right-of-way and an equal amount adjacent thereto required for temporary use for construction purposes. The valuation of the land was fixed by plaintiff’s witnesses at $200.00 per acre, which was reduced by 50% for the reason that plaintiff sought only the acquisition of a servitude of right-of-way and not a fee ownership of the property. Additionally, plaintiff’s experts considered the sum of $50.00 to be adequate compensation for the temporary use of the additional area.
While we find no reason which would justify an- increase in the land valuation fixed by plaintiff’s witnesses, it is our opinion that the compensation in the nature of rental for temporary use for construction purposes should be increased to the sum of $290.00.
Accordingly, it is ordered, adjudged and decreed that the judgment appealed from be and it is amended to the extent of reducing the principal amount of the award to the sum of $554.00; and as amended the judgment is affirmed. Costs of this appeal are' taxed against defendant-appellee.
